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                       IN THE UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  FT. MYERS DIVISION

IN RE:

H2O INVESTMENT PROPERTIES, LLC,                        Case No. 2:23-bk-00373-FMD
                                                       Chapter 11, Subchapter V
          Debtor
                                               /

                    MOTION TO COMPEL PAYMENT OF SUBCHAPTER V
                   TRUSTEE FEES FROM THE DEBTOR AND RONALD SAPP

          Michael C. Markham, Subchapter V Trustee, hereby moves this Court to enter an order

compelling both the Debtor and Ronald Sapp to pay court-approved subchapter V trustee fees, and

states:

          1.       On August 23, 2023, this Court entered an Order Approving First Application of

Subchapter V Trustee for Allowance and Payment of Compensation (Doc. 96) directing immediate

payment of $3,952.50, including application of interim trustee compensation paid during the case.

After application of $2,000 in interim payments, $1,952.50 is still owed on the First Application.

On November 8, 2023, this Court entered an Order Approving Second Application of Subchapter

V Trustee for Allowance and Payment of Compensation (Doc. 126) directing immediate payment

in the amount of $3,384.49. The total amount outstanding and past due in Subchapter V Trustee

fees is $5,336.99.

          2.       Pursuant to the Confirmed Plan (Doc. 90) and the Confirmation Order (Doc. 113),

Ronald Sapp is personally obligated for all allowed administrative expenses in this case, including

Subchapter V Trustee fees.
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        3.      Notwithstanding entry of orders allowing Subchapter V Trustee fees and

subsequent demand made on the Debtor and Mr. Sapp, the court-awarded fees of the Subchapter

V Trustee have not been paid.

        4.      The Court should enter an order compelling the payment of all outstanding

Subchapter V Trustee fees, including entry of judgment against the Debtor and Mr. Sapp,

individually.

        WHEREFORE, the Subchapter V Trustee requests an order granting this Motion, including

entry of judgment against the Debtor and Mr. Sapp, individually.

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing has been served this 28th day of

November, 2023, on the CM/ECF participants via Electronic Service Text Entry, and

electronically to Ronald Sapp at ronnieglenn500@gmail.com

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                                             /s/ Michael C. Markham
                                            Michael C. Markham, FBN: 0768560
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                                            401 E. Jackson Street, Suite 3100
                                            Tampa, FL 33602
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                                            Subchapter V Trustee
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